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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION


    JENNIFER VANDERSTOK et al.,

           Plaintiffs,                                  Case No. 4:22-cv-00691-O

      v.

    MERRICK GARLAND, in his official
    capacity as Attorney General of the United
    States et al.,

           Defendants.



       DEFENDANTS’ RESPONSE TO POLYMER80, INC.’S NOTICE REGARDING
                          REMAINING CLAIMS

            Pursuant to this Court’s Order, ECF No. 233 (July 12, 2023), Defendants hereby submit this

Response to Intervenor-Plaintiff Polymer80, Inc.’s Notice Regarding Remaining Claims, ECF No.

232 (July 7, 2023). The Court asked Defendants to “address (1) the issue of mootness as to

Polymer80’s remaining claims 1 and (2), if the Court determines Polymer80’s claims are not moot,

whether Defendants agree to the proposed scheduling order (ECF No. 232-1)” submitted by

Polymer80. ECF No. 233, at 1-2.

            1.       Polymer80’s remaining claims are not moot. As Defendants surmise, the Court

inquired into the potential mootness of these claims because the Open Letter and Polymer80 Letter

discuss the classification of products under the Final Rule, Definition of “Frame or Receiver” and



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  Polymer80’s remaining claims – Counts I, III, V, VII, IX, XII, XIII in part, XIV in part, XV, XVI
in part, and XVII in part – are those challenging ATF’s December 2022 Open Letter, see Appendix in
Support of Polymer80, Inc.’s Brief in Support of its Motion to Intervene, ECF No. 159, APP 008-017
(“Open Letter”), and ATF’s December 2022 letter to Polymer80, see id. at APP 047-056 (“Polymer80
Letter”).
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Identification of Firearms, 87 Fed. Reg. 24,652 (April 26, 2022) (“Rule”), and this Court issued an

opinion and entered a final judgment vacating the Rule. See Memorandum Opinion & Order on

Parties’ Cross-Motions for Summary Judgment & Motions to Intervene, ECF No. 227, at (June 30,

2023) (“Opinion” or “Op.”); Final Judgment, ECF No. 231, at 1 (July 5, 2023). However, Defendants

have appealed the Opinion and Final Judgment to the Fifth Circuit. See Notice of Appeal, ECF No.

234 (July 13, 2023); VanDerStok v. Garland, No. 23-10718 (5th Cir.). That appeal is pending.

Therefore, regardless of whether Polymer80’s remaining claims would be moot in the event that this

Court’s vacatur of the Rule withstands appellate review (an issue on which Defendants take no

position at this time), those claims are not currently moot.

        2.      Defendants respectfully request that the Court not enter the scheduling order

proposed by Polymer80, and instead, stay proceedings regarding Polymer80’s remaining claims

pending resolution of the appeal in VanDerStok, No. 23-10718, an appeal in which Defendants are

appellants and Polymer80 is an appellee. A district court “has broad discretion to stay proceedings as

an incident to its power to control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997). This

discretion “calls for the exercise of judgment, which must weigh competing interests and maintain an

even balance.” Landis v. North American Co., 299 U.S. 248, 254-55 (1936).

        “A stay pending the outcome of litigation between the same parties involving the same or

controlling issues is an acceptable means of avoiding unnecessary duplication of judicial machinery.”

ACF Indus., Inc. v. Guinn, 384 F.2d 15, 19 (5th Cir. 1967); see also Wolf Designs, Inc. v. Donald McEvoy Ltd.,

Inc., 341 F. Supp. 2d 639, 642 (N.D. Tex. 2004) (“[A] stay pending the outcome of litigation in another

court between the same parties, involving the same or controlling issues, is an appropriate means of

avoiding unnecessary waste of judicial resources.”). Such a stay is warranted where “there is substantial

overlap in the underlying issues” and “where at least some of the issues in the case could be clarified

or eliminated” in the related matter; such a stay ensures that “judicial resources will be conserved, and

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duplication of efforts avoided.” ZeniMax Media Inc. v. Samsung Electronics Co., No. 3:17-cv-1288-D,

2017 WL 4805524, at *4 (N.D. Tex. Oct. 25, 2017).               Therefore, district courts routinely stay

proceedings when an appeal is likely to shed substantial light on legal issues in a case.2

        A stay is warranted here because the VanDerStok appeal will have substantial impact on the

merits of Polymer80’s remaining claims. Polymer80 challenges the Open Letter and Polymer80 Letter.

Those letters applied a provision of the Rule that provides that “a partially complete . . . frame or

receiver” is a frame or receiver if it “may readily be completed, assembled, restored, or otherwise

converted to function as a frame or receiver.” 27 C.F.R. § 478.12(c). The letters concluded that

certain partially complete frames manufactured or sold by Polymer80 qualified as frames and firearms

because they have “reached a stage of manufacture where they ‘may readily be completed, assembled, restored,

or otherwise converted’ to a functional frame.” Open Letter, APP 016 (quoting 27 C.F.R. § 478.12(c));

accord Polymer80 Letter, APP 055. At issue in the VanDerStok appeal is the lawfulness of § 478.12(c),

and the extent of ATF’s authority to regulate partially complete frames and receivers. See Op. 25-30.

Therefore, it is virtually certain that the resolution of the VanDerStok appeal will have significant

bearing on Polymer80’s remaining claims.

        A stay will conserve resources of the parties and the Court. Both Polymer80’s remaining

claims and the VanDerStok appeal involve the core legal issue of whether ATF has statutory authority



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  See, e.g., Sikhs for Justice v. Nath, 893 F. Supp. 2d 598, 622 (S.D.N.Y. 2012) (“a court may also properly
exercise its staying power when a higher court is close to settling an important issue of law bearing on
the action”); Minn. Voters Alliance v. Walz, 494 F. Supp. 3d 610, 611-12 (D. Minn. 2020) (staying
proceedings pending appeal of preliminary injunction because, among other things, the appeal was
“likely to resolve some of the legal issues in dispute”); Beltronics USA, Inc. v. Midwest Inventory Distrib.,
LLC, 545 F. Supp. 2d 1188, 1190 (D. Kan. 2008) (staying proceedings to await Tenth Circuit’s
resolution of a legal issue that “would significantly advance the course of th[e] litigation” and best
serve “the time and effort of the parties and the court”); Bray v. QFA Royalties, LLC, No. 06-cv-02528,
2007 WL 2688858, at *1 (D. Colo. Sept. 12, 2007) (staying proceedings pending appeal of preliminary
injunction because “the Tenth Circuit’s determination of the legal issues inherent in [the] preliminary
injunction decision will edify further proceedings on those same . . . claims for permanent injunctive
relief”).
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to regulate partially complete frames and receivers that may readily be converted to a functional state.

A stay would ensure that “judicial resources will be conserved, and duplication of efforts avoided,”

ZeniMax Media, 2017 WL 4805524, at *4, because Defendants and Polymer80 would not need to

litigate this issue simultaneously in two courts. Furthermore, a stay would not prejudice Polymer80

because the parties could continue to litigate the case upon expiration of the stay. Given that the Fifth

Circuit has expedited the appeal and scheduled oral argument for September 7, 2023, a stay would not

be inordinately long, and would not unduly delay resolution of Polymer80’s claims.

                                           CONCLUSION

        Polymer80’s remaining claims are not moot. Rather than enter the schedule proposed by

Polymer80, the Court should stay Polymer80’s remaining claims pending the Fifth Circuit’s resolution

of VanDerStok v. Garland, 23-10718 (5th Cir.).



DATED: August 2, 2023                                   Respectfully submitted,

                                                        BRIAN M. BOYNTON
                                                        Principal Deputy Assistant Attorney General

                                                        ALEXANDER K. HAAS
                                                        Director, Federal Programs Branch

                                                        LESLEY FARBY
                                                        Assistant Director, Federal Programs Branch

                                                        /s/ Jeremy S.B. Newman
                                                        DANIEL RIESS
                                                        TAISA M. GOODNATURE
                                                        JEREMY S.B. NEWMAN
                                                        Trial Attorneys
                                                        Civil Division, Federal Programs Branch
                                                        U.S. Department of Justice
                                                        1100 L Street, NW
                                                        Washington, DC 20005
                                                        Phone: (202) 532-3114
                                                        Email: jeremy.s.newman@usdoj.gov
                                                        Attorneys for Defendants


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                              CERTIFICATE OF CONFERENCE

       I certify that I have conferred with counsel for Polymer80, Inc. (“Polymer80”), James W.

Porter III and Marc A. Nardone, on August 2, 2023. Counsel for Polymer80 indicated that Polymer80

opposes the entry of a stay and believes the briefing schedule it has proposed for resolving its

remaining claims is appropriate.

                                                                       /s/ Jeremy S.B. Newman


                                   CERTIFICATE OF SERVICE

       On August 2, 2023, I electronically submitted the foregoing document with the clerk of court

for the U.S. District Court, Northern District of Texas, using the electronic case filing system of the

court. I hereby certify that I have served all parties electronically or by another manner authorized by

Federal Rule of Civil Procedure 5(b)(2).

                                                                       /s/ Jeremy S.B. Newman




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